        Case 7:18-cv-00264 Document 1 Filed on 08/21/18 in TXSD Page 1 of 9



                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    MCALLEN DIVISION


 MARTINA A. MEDINA,
                                                        CIVIL COMPLAINT
              Plaintiff,

 v.                                                     CASE NO. 7:18-cv-00264

 CONVERGENT OUTSOURCING, INC.,
                                                        DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

         NOW COMES MARTINA A. MEDINA (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of CONVERGENT

OUTSOURCING, INC. (“Defendant”), as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) pursuant to 15 U.S.C. §1692, the Telephone Consumer Protection Act (“TCPA”)

pursuant to 47 U.S.C. §227, and the Texas Debt Collection Act (“TDCA”) pursuant to Tex. Fin.

Code Ann. §392, for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C. §§1331

and 1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists

for the state law claim pursuant to 28 U.S.C. §1367.




                                                  1
       Case 7:18-cv-00264 Document 1 Filed on 08/21/18 in TXSD Page 2 of 9



    3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Plaintiff resides in the

Southern District of Texas and Defendant conducts business in the Southern District of Texas.

                                              PARTIES

    4. Plaintiff is a natural person residing in the Southern District of Texas.

    5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

    6. Defendant is a third-party debt collector that is in the business of collecting consumer debts

for others, including a debt allegedly owed by Plaintiff. Defendant identifies itself as a debt

collector. Defendant is headquartered at 800 SW 39th Street, Renton, Washington 98057.

    7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

    8. Defendant acted through its agents, employees, officers, vendors, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at

all times relevant to the instant action.

                              FACTS SUPPORTING CAUSES OF ACTION

    9. Around March 2018, Plaintiff began receiving calls to her cellular phone, (956) XXX-

4273, from Defendant.

    10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 4273. Plaintiff is and always has been financially

responsible for this cellular phone and its services.

    11. Upon answering calls from Defendant, Plaintiff experienced a significant pause, lasting

several seconds in length, before a live representative begins to speak.

    12. Plaintiff has never had any business relationship with Defendant nor has she ever given it

permission to call her cellular phone.

    13. Naturally, Plaintiff was confused as to why Defendant was contacting her.



                                                  2
       Case 7:18-cv-00264 Document 1 Filed on 08/21/18 in TXSD Page 3 of 9



    14. Upon speaking with Defendant, Plaintiff was informed that Defendant is acting as a debt

collector attempting to collect upon an allegedly defaulted Green Mountain Energy account in the

amount of $260 (“subject debt”).

    15. Plaintiff immediately demanded that Defendant stop calling her cellular phone.

    16. Plaintiff’s demand did nothing to stop Defendant’s phone harassment campaign.

    17. Frustrated by Defendant’s continuous calls, Plaintiff again demanded that Defendant

cease contacting her on her cellular phone.

    18. Furthermore, Plaintiff has made outgoing calls to Defendant where she has requested that

Defendant stop calling her.

    19. Plaintiff has revoked her consent to be called in both English and her native tongue,

Spanish.

    20. Plaintiff has revoked her consent to be called, in Spanish, to a Spanish speaking

representative.

    21. Despite Plaintiff’s multiple demands that the calls cease, Plaintiff continues to receive

constant phone calls from Defendant.

    22. Plaintiff has received no less than 21 phone calls from Defendant since asking it to stop

calling.

    23. The phone number Defendant uses most frequently to contact Plaintiff is (210) 526-7816,

but upon information and belief, it may have used other phone numbers to place calls to Plaintiff’s

cellular phone.

    24. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

 resulting in expenses.

    25. Plaintiff has been unfairly and unnecessarily harassed by Defendant’s actions.



                                                3
      Case 7:18-cv-00264 Document 1 Filed on 08/21/18 in TXSD Page 4 of 9



   26. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies unwanted collection telephone calls,

emotional distress, increased risk of personal injury resulting from the distraction caused by the

constant calls, increased usage of her telephone services, loss of cellular phone capacity,

diminished cellular phone functionality, decreased battery life on her cellular phone, and

diminished space for data storage on her cellular phone.

           COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   27. Plaintiff repeats and realleges paragraphs 1 through 26 as though full set forth herein.

   28. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   29. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

uses the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

   30. Defendant is engaged in the business of collecting or attempting to collect, directly or

indirectly, defaulted debts owed or due or asserted to be owed or due to others.

   31. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be due to another for personal, family, or household purposes

       a. Violations of FDCPA §1692d

   32. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” Specifically, §1692d(5) further prohibits, “causing a

telephone to ring or engaging any person in telephone conversation repeatedly or continuously

with intent to annoy, abuse, or harass any person at the called number.”

   33. Defendant continuously called Plaintiff after being asked to stop placing calls to her

cellular phone. Defendant called Plaintiff no less than 21 times after she demanded that Defendant



                                                4
       Case 7:18-cv-00264 Document 1 Filed on 08/21/18 in TXSD Page 5 of 9



cease placing calls to her cellular phone. This repeated behavior of systematically calling

Plaintiff’s phone in spite of her multiple demands was harassing and abusive. The frequency and

volume of calls shows that Defendant willfully ignored Plaintiff’s plea with the goal of annoying

and harassing her.

           b. Violations of FDCPA § 1692f

   34. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

   35. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by continuously calling Plaintiff, no less than 21 times, in a short period of time after Plaintiff

demanded that the calls cease. Attempting to coerce Plaintiff into payment by placing voluminous

phone calls after being told to stop calling is unfair and unconscionable behavior. These means

employed by Defendant only served to worry and confuse Plaintiff.

   36. As such, Plaintiff has been harmed and suffered damages as a result of Defendant’s illegal

actions.

   WHEREFORE, Plaintiff, Martina A. Medina, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3); and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.



                                                   5
      Case 7:18-cv-00264 Document 1 Filed on 08/21/18 in TXSD Page 6 of 9



          COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   37. Plaintiff repeats and realleges paragraphs 1 through 36 as though fully set forth herein.

   38. Defendant repeatedly placed or caused to be placed frequent non-emergency calls,

including but not limited to the calls referenced above, to Plaintiff’s cellular telephone number

using an automatic telephone dialing system (“ATDS”) or prerecorded or artificial voice without

Plaintiff’s prior consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).

   39. The TCPA defines ATDS as “equipment which has the capacity...to store or produce

telephone numbers to be called, using a random or sequential number generator; and to dial such

numbers.” 47 U.S.C. §227(a)(1).

   40. Upon information and belief, based on Defendant’s lack of prompt human response during

the phone calls in which Plaintiff answered, Defendant used an ATDS to place calls to Plaintiff’s

cellular telephone.

   41. Upon information and belief, the ATDS employed by Defendant transfers the call to a live

agent once a human voice is detected, thus resulting in a pause after the called party speaks into

the phone.

   42. Defendant violated the TCPA by placing no less than 21 phone calls to Plaintiff’s cellular

phone between March 2018 and the present day, using an ATDS without her prior consent.

   43. Any prior consent, if any, was revoked by Plaintiff’s verbal revocations. Specifically,

Plaintiff verbally revoked consent to be called in both incoming and outgoing calls, in both English

and Spanish.

   44. As pled above, Plaintiff was severely harmed by Defendant’s collection calls to her cellular

phone.




                                                  6
      Case 7:18-cv-00264 Document 1 Filed on 08/21/18 in TXSD Page 7 of 9



   45. Upon information and belief, Defendant has no system in place to document and archive

whether it has consent to continue to contact consumers on their cellular phones.

   46. Upon information and belief, Defendant knew its collection practices were in violation of

the TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.

   47. Defendant, through its agents, vendors, representatives, subsidiaries, and/or employees

acting within the scope of their authority acted intentionally in violation of 47 U.S.C.

§227(b)(1)(A)(iii).

   48. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum of

$500 per phone call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and

knowing violations of the TCPA triggers this Honorable Court’s discretion to triple the damages

to which Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).

   WHEREFORE, Plaintiff, Martina A. Medina, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate.

               COUNT III – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   49. Plaintiff restates and realleges paragraphs 1 through 48 as though fully set forth herein.

   50. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. §392.001(1).

   51. Defendant is a “debt collector” and a “third party debt collector” as defined by Tex. Fin.

Code Ann. §392.001(6) and (7).



                                                7
      Case 7:18-cv-00264 Document 1 Filed on 08/21/18 in TXSD Page 8 of 9



   52. The subject debt is a “consumer debt” as defined by Tex. Fin. Code Ann. §392.001(2) as

it is an obligation, or alleged obligation, arising from a transaction for personal, family, or

household purposes.

           a. Violations of TDCA § 392.302

   53. The TDCA, pursuant to Tex. Fin. Code Ann. §392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,

or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”

   54. Defendant violated the TDCA when it continued to call Plaintiff’s cellular phone at least

21 times after she requested that Defendant cease placing the unwanted and harassing calls. This

repeated behavior of systematically calling Plaintiff’s phone in spite of her request that the calls

cease was harassing and abusive. Furthermore, the nature and volume of phone calls, including

multiple calls during the same day, would naturally cause an individual to feel oppressed.

   WHEREFORE, Plaintiff, Martina A. Medina, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. §392.403(a)(1).

   c. Awarding Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. §392.403(a)(2).

   d. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Fin. Code Ann.
      §392.403(b);

   f. Awarding any other relief as this Honorable Court deems just and appropriate.




                                                 8
      Case 7:18-cv-00264 Document 1 Filed on 08/21/18 in TXSD Page 9 of 9




Dated: August 21, 2018                     Respectfully submitted,

                                           /s/ Alexander J. Taylor
                                           /s/ Marwan R. Daher
                                           /s/ Omar T. Sulaiman
                                           Alexander J. Taylor, Esq.
                                           Marwan R. Daher, Esq.
                                           Omar T. Sulaiman, Esq.
                                           Counsel for Plaintiff
                                           Sulaiman Law Group, Ltd
                                           2500 S Highland Ave, Suite 200
                                           Lombard, IL 60148
                                           Telephone: (630) 575-8181
                                           ataylor@sulaimanlaw.com
                                           mdaher@sulaimanlaw.com
                                           osulaiman@sulaimanlaw.com




                                       9
